         Case 22-33553 Document 448 Filed in TXSB on 09/20/23 Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                §   Chapter 11 (Subchapter V)
                                                      §
FREE SPEECH SYSTEMS, LLC,                             §   Case No. 22-60043
                                                      §
         Debtor.                                      §
---------------------------------------------------   §
In re:                                                §
                                                      §
ALEXANDER E. JONES,                                   §   Case No. 22-33553
                                                      §
         Debtor.                                      §

    JOINT STIPULATION AND AGREED ORDER RESOLVING DSITRUBTION OF
                 PLATINUM PRODUCTS SALES PROCEEDS

         WHEREAS, Free Speech Systems, LLC (the “Debtor” or “FSS”) and ELEVATED

SOLUTIONS GROUP. LLC. (“ESG”) are parties to that certain Professional Services Agreement

– IW Platinum Supplement Affiliate Program (the “FSS/ESG Agreement”), pursuant to which

ESG provides certain services regarding the sale of IW Platinum Supplements through FSS’s sales

channels; and

         WHEREAS Alex Jones (“AEJ”) and ESG entered into that certain Professional Services

Agreement – Inforwars Platinum Dietary Supplement Product Line (the “AEJ/ESG Agreement”),

pursuant to which specified products ESG would provide services in connection with the

acquisition, marketing, sale and fulfillment of three specific dietary supplements purchased and

paid for by AEJ.

         WHEREAS FSS terminated the FSS/ESG Agreement effective on April 17, 2023;

         WHEREAS AEJ filed his Motion for Entry of an Order Authorizing Rejection of Certain

Executory Contracts (the “Motion to Reject”) seeking to reject the AEJ/ESG Agreement, which

Motion is opposed by ESG;


JOINT 3215318_1
         Case 22-33553 Document 448 Filed in TXSB on 09/20/23 Page 2 of 4




        WHEREAS FSS as of April 17, 2023, FSS suspended disbursements of proceeds from the

sale of Platinum Products pursuant to terms of the FSS/ESG Agreement;

        WHEREAS FSS, AEJ and ESG disputed the allocation of the proceeds from the sale of

Platinum products under the FSS/ESG Agreement and the AEJ/ESG Agreement (collectively the

“Agreements”) and the rights of the parties following the termination of those Agreements; and

        WHEREAS following extensive review of the distribution of sales proceeds generated

from the sale of Platinum dietary supplements pursuant to the Agreements and negotiations

between the parties, FSS, AEJ and ESG have reached agreement regarding disbursement of the

proceeds generated from the sale of Platinum products under the Agreement to date and have also

agreed to the sale of the remaining inventory of Platinum products1 and the distribution of the

proceeds generated from the sale of that remaining inventory.

        NOW, THEREFORE, it is stipulated and agreed to by FSS, AEJ and ESG (collectively the

“Parties”) and upon approval by the Bankruptcy Court, ordered that:

        1.       FSS has received proceeds from the sales of Platinum Products under the

                 Agreements for the period from April 8, 2023, through August 20, 2023, in the total

                 amount of $605,532.76 (“Gross Sales Proceeds”).

        2.       The parties agree that the distribution of the Gross Sales Proceeds shall be One

                 Hundred Five Thousand, Eight Hundred Twenty-four dollars and 24 cents

                 ($105,824.24) to be distributed to ESG; Three Hundred Thirty-Two Thousand, One

                 Hundred Fifty-Six dollars and 84 cents ($332,156.84) to be distributed to Jones;




1
  Platinum products means those products identified in the Agreements (the “Platinum Products”). FSS directly
purchases Platinum products from time to time that are not subject to the Agreements and are not implicated in this
Stipulation.


JOINT STIPULATION AND AGREED ORDER
       Case 22-33553 Document 448 Filed in TXSB on 09/20/23 Page 3 of 4




              and One hundred Sixty-Seven Thousand Five Hundred Twenty Three Dollars and

              68 cents ($167,523.68) to be retained by FSS.

       3.     FSS shall make the distributions directly to ESG and AEJ upon entry of this

              Stipulation by the Court.

       4.     FSS will resume sales of the remaining inventory Platinum Products through FSS

              sales channels under the existing terms of the Agreements, with the FSS/ESG

              Agreement modified to increase the permitted credit card processing fee to seven

              percent (7%) for Platinum Product sales after August 21. 2023.

       5.     FSS will make distributions directly to ESG and AEJ for Platinum Product sales on

              a weekly basis and shall provide AEJ and ESG weekly reports reflecting sales,

              related costs and expenses and the resulting distribution to the Parties.

       6.     The Parties agree that AEJ will not reinvest his distributions in additional Platinum

              Product sales and the agreement of the Parties in this Stipulation shall terminate

              upon the sale of the remaining Platinum Product inventory to a point that the

              continued listing of the Platinum Product on FSS’s sales channels is no longer

              economically justifiable as may be agreed to by the Parties.

              The Agreement of the Parties set forth in this Stipulation shall be in full satisfaction

       of any and all claims the Parties may have among themselves related to the distributions

       provided for in this Stipulation. The Parties otherwise retain all rights and claims arising

       from the performance of the agreements contained in this Stipulation.


       Dated: ___________, 2023
                                              _______________________________________
                                              UNITED STATES BANKRUPTCY JUDGE




JOINT STIPULATION AND AGREED ORDER
       Case 22-33553 Document 448 Filed in TXSB on 09/20/23 Page 4 of 4




STIPULATED AND AGREED ON September 20, 2023, BY AND BETWEEN:


CROWE & DUNLEVY, P.C.


By: /s/ Vickie L. Driver
Vickie L. Driver
State Bar No. 24026886
Christina W. Stephenson
State Bar No. 24049535
2525 McKinnon St., Suite 425
Dallas, TX 75201
Telephone: 737-218-6187
Email: dallaseservice@crowedunlevy.com

ATTORNEYS FOR ALEXANDER E. JONES


LAW OFFICES OF RAY BATTAGLIA, PLLC

By: /s/ Raymond W. Battaglia
Raymond W. Battaglia
State Bar No. 01918055
66 Granburg Circle
San Antonio, TX 78218
Telephone: 210-601-9405
Email: rbattaglialaw@outlook.com

ATTORNEY FOR FREE SPEECH SYSTEMS, LLC


WALKER & PATTERSON, P.C.


By: /s/ Johnie Patterson
Johnie Patterson
State Bar No. 15601700
WALKER & PATTERSON, P.C.
P.O. BOX 61301
Houston, TX 77208
Telephone: 713-956-5577
Email: jjp@walkerandpatterson.com

ATTORNEY FOR ELEVATED SOLUTIONS GROUP, LLC




JOINT STIPULATION AND AGREED ORDER
